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UNITED STATES DISTRICT COURT

for the District of New Jersey
United States of America
ORDER SETTING CONDITIONS
Vv. OF RELEASE
MAXWELL POKU

Case Number: 2:12-MJ-7234

Defendant

IT IS ORDERED on this 10" day of AUGUST , 2012 that the release of the defendant is subject to the following conditions:
(1) The defendant must not violate any federal, state or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § 14135a.
(3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
any change in address and/or telephone number.
(4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

Release on Bond

Bail be fixed at $ 100, OCO and the defendant shall be released upon:
( ) Executing an unsecured appearance bond (_) with co-signor(s) ;
(<j Executing a secured appearance bond (_ ) with co-signor(s) ,and( )
depositing in cash in the registry of the Court % of the bail fixed; and/or (29 execute an agreement to
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forfeit designated property located at Untea, AS . Local Criminal Rule

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46.1(d)(3) (raived/not waived by the Court.
(_ ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu
thereof;

Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant and the

safety of other persons and the community, it is further ordered that the release of the defendant is subject to the condition(s)
listed below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
CS) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement
personnel, including but not limited to, any arrest, questioning or traffic stop.
( ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any
witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
(_ ) The defendant shall be released into the third party custody of

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort
to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
immediately in the event the defendant violates any conditions of release or disappears.

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(29 The defendant’s travel is restricted to€<S) New Jersey ( ) Other

‘K) unless approved by Pretrial Services (PTS).
€S) Surrender all passports and travel documents to PTS. Do not apply for new travel documents. (whe ? Ch, \dre. ay
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Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance
abuse testing procedures/equipment.

Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any home in
which the defendant resides shall be removed by 13/2012 and verification provided to PTS.

Mental health testing/treatment as directed by PTS.

Abstain from the use of alcohol.

Maintain current residence or a residence approved by PTS.

) Maintain or actively seek employment and/or commence an education program.

) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.

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Have no contact with the following individuals:
Defendant is to participate in one of the following home confinement program components and abide by all the
requirements of the program which ( ) will or (_ ) will not include electronic monitoring or other location
verification system. You shall pay all or part of the cost of the program based upon your ability to pay as
determined by the pretrial services office or supervising officer.
( ) @ Curfew. You are restricted to your residence every day (_) from to ,or( )as
directed by the pretrial services office or supervising officer; or
( ) Gi) Home Detention. You are restricted to your residence at all times except for the following:
education; religious services; medical, substance abuse, or mental health treatment; attorney
visits; court appearances; court-ordered obligations; or other activities pre-approved by the
pretrial services office or supervising officer. Additionally, employment ( ) is permitted ( )
is not permitted.
( ) Gii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
for medical necessities and court appearances, or other activities specifically approved by the
court.
( ) Defendant is subject to the following computer/internet restrictions which may include manual inspection
and/or the installation of computer monitoring software, as deemed appropriate by Pretrial Services. The
defendant shall pay all or part of the cost of the monitoring software based upon their ability to pay, as
determined by the pretrial services office or supervising officer.
( ) @ No Computers - defendant is prohibited from possession and/or use of computers or
connected devices.

( ) Gi) Computer - No Internet Access: defendant is permitted use of computers or connected
devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant
Messaging, etc);

( ) (ii) Computer With Internet Access: defendant is permitted use of computers or connected devices, and
is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging,
etc.) for legitimate and necessary purposes pre-approved by Pretrial
Services at [ ] home [ ] for employment purposes.

( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in the home
utilized by other residents shall be approved by Pretrial Services, password protected by a third
party custodian approved by Pretrial Services, and subject to inspection for compliance by Pretrial

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ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than
ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This
sentence will be consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate
or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more— you
will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) anoffense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will
be fined not more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony— you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you
receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

Iacknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey
all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and

sanctions set forth above. LOO

Defendant ’s Signature
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City and State
Directions to the United States Marshal

KC) The defendant is ORDERED released after processing.

(__) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or
judge that the defendant has posted bond and/or complied with all other conditions for release. If still in
custody, the defendant must be produced before the appropriate judge at the time and place specified.

Date: 8/10/2012 ‘

Judicial Officer’s Signature

Cathy L. Waldor U.S.M.J.
Printed name and title

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